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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

DA WUD AMEEN HUSAIN,                               )
                                                   )
                Plaintiff,                         )
                                                   )
       v.                                          )           No. 4:20-CV-607 RL W
                                                   )
JOSEPH N. WALSH, III, et al.,                      )
                                                   )
                Defendants.                        )

                                 MEMORANDUM AND ORDER

       This matter is before the Court upon remand from the Eighth Circuit Court of Appeals for

collection of the appellate filing fee. The Court will order the Missouri Department of Corrections

to assess, and when funds exist, collect the $505 appellate filing fee, on behalf of plaintiff.

       Accordingly,

       IT IS HEREBY ORDERED that pursuant to 28 U.S.C. § l 915(b)(4), the initial partial

filing fee is waived.

       IT IS FURTHER ORDERED that the institution having custody of plaintiff shall,

whenever the amount in plaintiffs inmate account exceeds $10.00, send monthly payments that

equal 20 percent of the funds credited to the account the preceding month to the United States

District Court for the Eastern District of Missouri Clerk's office, pursuant to 28 U.S.C. §

1915(b)(2), until the appellate filing fee of $505.00 is paid in full.
                     /.c-A
        Dated this/...;;;;   day of October, 2020.



                                                  ~if~
                                                     UNITED STATES DISTRICT JUDGE
